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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


 CAREER COLLEGES
 & SCHOOLS OF TEXAS,

                          Plaintiff,

 v.
                                                      CASE NO.: 4:23-cv-00206-P
 UNITED STATES DEPARTMENT OF
 EDUCATION; MIGUEL CARDONA,
 in his official capacity as the Secretary
 of Education,

                          Defendants.



                PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

        Plaintiff CAREER COLLEGES & SCHOOLS OF TEXAS (“CCST”) respectfully moves

the Court for a preliminary injunction enjoining the United States Department of Education (the

“Department”) and Secretary of Education Miguel Cardona (together, the “Defendants”) from

enforcing, applying, or implementing the November 1, 2022 final rule regarding the Department’s

administration of student loans under the William D. Ford Federal Direct Loan (“Direct Loan”),

the Federal Perkins Loan (“Perkins”), and the Federal Family Education Loan (“FFEL”) programs,

see 87 Fed. Reg. 65,904 (Nov. 1, 2022) (the “Rule”), anywhere within the Department’s

jurisdiction.

        As set forth in the companying memorandum of law in support, CCST is likely to prevail

on the merits; CCST and its member schools will suffer irreparable harm absent the requested

injunctive relief; and the balance of equities and public interest considerations favor an order of

preliminary injunction.
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       Further, expedited relief is necessary because the Rule is set to take effect on July 1, 2023.

See 87 Fed. Reg. 65,904.

       WHEREFORE, for the reasons set forth in the accompanying brief, CCST respectfully

requests that the Court issue a preliminary injunction enjoining the Defendants from enforcing,

applying, or implementing the Rule anywhere within the Department’s jurisdiction.



 Dated: April 5, 2023                               Respectfully submitted,


                                                    /s/ Allyson B. Baker
                                                    Allyson B. Baker (pro hac vice)
                                                    Meredith L. Boylan (pro hac vice)
                                                    Stephen B. Kinnaird (pro hac vice)
                                                    Michael Murray (pro hac vice)
                                                    Sameer P. Sheikh (pro hac vice)
                                                    PAUL HASTINGS LLP
                                                    2050 M Street NW
                                                    Washington, DC 20037
                                                    allysonbaker@paulhastings.com
                                                    (202)-551-1830


                                                    /s/ Philip Vickers
                                                    Philip Vickers
                                                    Texas Bar No. 24051699
                                                    pvickers@canteyhanger.com
                                                    Katherine Hancock
                                                    Texas Bar No. 24106048
                                                    khancock@canteyhanger.com
                                                    CANTEY HANGER LLP
                                                    600 West 6th Street, Suite 300
                                                    Fort Worth, TX 76102
                                                    (817) 877-2800
                                                    (817) 877-2807 – Fax

                                                    Attorneys for Plaintiff
                                                    Career Colleges & Schools of Texas
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                             CERTIFICATE OF CONFERENCE

       On April 3, 2023, I conferred by telephone with R. Charlie Merritt, counsel for the

Defendants, regarding this Motion and the relief requested herein. Mr. Merritt stated that

Defendants oppose this Motion and the relief Plaintiff seeks.


                                                   /s/ Michael Murray
                                                   Michael Murray




                                CERTIFICATE OF SERVICE

       I certify that on April 5, 2023, a true and correct copy of the foregoing document was

served upon all counsel of record in this action via the Court’s CM/ECF system.



                                                   /s/ Philip Vickers
                                                   Philip Vickers
